                   Case 4:91-cr-00176-LGW-CLR Document 1499 Filed 09/08/15 Page 1 of 1
                                                                                                                                      PublicDiscLosure)
AO 24? O0/ll)   OrderResardingMotion for Sentenc€ReductiooPursuadto l8 U S C. $ 3582(oX?)

                                                                                                                     U , SO, I S T COURI
                                                                     DIsrFJcr CoLRT
                                                           UMTEDSTATES                                                   AUli,ilI A ntv.
                                                                                for the
                                                                                                                          -8 Alll0:lr9
                                                                                                                    tfrssEP
                                                                 SouthernDistrictof Georgia
                                                                    SavannahDivision                             cLERt
                      UnitedStatesof America
                               v.
                                                                                      CaseNo; 4:91CR00176-12
                             JosePh
                                  Newton                                              USMNo: 07658-021
Dateof OriginalJudgment:       Febtuarv19. 1992                                       William Lewis
Dateof hcviousAmended Judgment: March28. 2012                                         Defendant'sAttomey
(Iise Date of Last AuendedJutlgnent, if any)


                                                                           RealuctionPursuantto l8 U'S'C' $ 35E2(c)(2)
                                        Order Rcg.rding }{otion for Senaence


       Uponmotionof Elthe defendantIthe Directorof the Bureauof Prisons!the courtunderl8 U.S.C.
5 3582(c)i2)for a reductionlnthe termof imprisonment imposedbasedon a guidelinesentencing  rangethathas
iubsequentlybeenloweredandmaderetroactiveby theUnitedStatesSentencing        Commission pursuant to 28 U.S.C.
$ 9946), andhavingconsidered    suchmotion,andtakinginto accountth€ policy statementsetfofth at USSG$ lB 1.10and
the sentencingfactorssetforth in l8 U.S,C.$        to
                                            3553(a),  the extent
                                                               that they areappligable,

IT IS ORDEREDthatthemotionis:
                                      previously
                                              imposed                                                                                      judgneht
                                                                                                     e of impriSonment (asrcIectedin th4last
 !    onNmn. fl cneNrEo andthedefendant's
                           issuedof      llfe          is reduced to                                      *months


                                                 (Complete Parts I and II of Page 2 when motion i5 grqnted)




 Exceptasotherwiseprovidedabove,all provisionsofthe judgnentdated
 IT TSSO ORDERED.

 OrderDate:



                                                                                       DudleyH. Bowen,Jr.
                        Novemberl. 2015                                                UnitedStatesDistriotJudse
                         (if diJferentfrom order date)                                                Print"dro^" oniiF-
